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                                         No. 23-1719


                                         In the
                            United States Court of Appeals
                                for the Fourth Circuit
                        ──────────────────────────

                             MARYLAND SHALL ISSUE, et al. ,
                                  Plaintiffs-Appellants
                                               v.
                         MONTGOMERY COUNTY, MARYLAND,
                                Defendant-Appellee

                          ──────────────────────────
                         On Appeal from the United States District Court
                                 for the District of Maryland
                          ──────────────────────────

                              REPLY BRIEF OF APPELLANTS

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                                          INTRODUCTION
              Try as it might, Montgomery County cannot escape the fact that its restrictions

        on public carry “eviscerate the general right to publicly carry arms for self-defense,”

        New York State Rifle & Pistol Association v. Bruen, 142 S.Ct. 2111, 2134 (2022),

        and therefore violate the Second Amendment. The County fights Bruen at every turn.

        It argues that the only relevant historical period is 1868 (and long after), while

        ignoring Bruen’s primary focus on 1791. It claims that only a few historical

        regulations can establish a tradition, despite Bruen’s instruction that analogues must

        be well-established and representative of “this Nation’s historical tradition,” not

        outliers. It invokes numerous laws from the territories and localities, despite Bruen’s

        instruction that they carry little weight in the historical analysis. And it contends that

        technological and societal changes factor into the Second Amendment analysis,

        despite Bruen’s contrary instruction.

              The County begins by devoting pages to the problem against which it

        legislated: gun violence. Defendant-Appellee’s Br. 3–6 (“Br.”). But whether the

        challenged restrictions are in the public interest is irrelevant. The Second

        Amendment’s “unqualified command” must prevail unless the government can show

        that its “regulation is consistent with this Nation’s historical tradition.” Bruen, 142

        S.Ct. at 2126. Bruen could not have been clearer that any “interest balancing,”

        whether overt or covert, is out of bounds. See, e.g., id. at 2131. At any rate, the


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        County’s allegations of rising criminal violence rates make the Second Amendment

        right more important, not less. See ST. GEORGE TUCKER, 1 BLACKSTONE’S

        COMMENTARIES: WITH NOTES OF REFERENCE 143–44 (1803). Understandably,

        elevated levels of violence often “cause law-abiding citizens to feel the need to carry

        a gun for self-defense.” Bruen, 142 S.Ct. at 2158 (Alito, J., concurring). And as the

        Founders well understood, because violent criminals cannot be expected to follow

        gun-control laws, “such laws make things worse for the assaulted and better for the

        assailants.” Mark W. Smith, Enlightenment Thinker Cesare Beccaria and his

        Influence on the Founders, 2020 PEPP. L. REV. 71, 83 (2020). Modern social science

        confirms that licensed handgun carriers “are at fairly low risk of misusing guns.”

        Philip J. Cook et al., Gun Control After Heller, 56 UCLA L. REV. 1041, 1082 (2009).

              Next, the County downplays just how sweeping its restrictions are. Br. 8–9,

        27. The County’s law allows individuals to carry inside their homes and allows

        business owners to have “one” firearm and ammunition for “one” firearm inside

        private businesses they own if they also have a carry permit. Montgomery County

        Code § 57-11(b)(3), (4). The County likewise allows people to transport a firearm in

        their vehicles, but only if the firearm is “unloaded,” separate from the ammunition,

        and “in an enclosed case or in a locked firearms rack.” Id. § 57-11(b)(5)(A).

        Otherwise, the County’s law makes it a criminal offense for any person, including

        permit holders, to possess any firearm within 100 yards of thousands of locations


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        that the County has arbitrarily designated as “sensitive places.” Id. § 57-11(a). In

        contrast, Bruen recognizes a “general right” to carry for self-defense which means,

        for permit holders, a loaded firearm. The County does not seriously dispute that its

        law bans carry at or within thousands of 100-yard exclusionary zones and effectively

        creates a ban on public carry throughout the County. Plaintiffs-Appellants’ Br. 15,

        42–48 (“Pls.’ Br.”). The challenged restrictions “eviscerate the general right to

        publicly carry arms for self-defense[.]” Bruen, 142 S.Ct. at 2134.

              Most problematically, the County fails to cite a single representative or

        “distinctly similar” Founding-era analogue to support its 100-yard exclusionary

        zones and restrictions on carry within houses of worship, parks, recreational

        facilities, and locations listed in Bill 21-22E that are privately owned. Instead, the

        County relies on evidence that is both too late and too little under Bruen. Neither the

        public interest nor the equities are served by the County enforcing an

        unconstitutional law. The judgment below should be reversed.

                                           ARGUMENT

              The County buries many arguments in footnotes. E.g., Br. 8 n.12, 23 n.28, 24

        n.30, 40 n.49. The Rules require the County to place its “contentions and the reasons

        for them” in the body of its argument. FED. R. APP. P. 28(a)(8)(A), (b). Arguments

        raised only in footnotes are forfeited. Wahi v. Charleston Area Med. Ctr., Inc., 562

        F.3d 599, 607 (4th Cir. 2009); Foster v. Univ. of Md.-E. Shore, 787 F.3d 243, 250 n.8


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        (4th Cir. 2015). While this brief answers all the County’s arguments, this Court can

        reject those confined to footnotes on that basis alone. The County’s properly

        presented arguments fare no better.

             I.      THE CHALLENGED PROVISIONS LIKELY VIOLATE
                     PLAINTIFFS’ SECOND AMENDMENT RIGHTS
             The County does not contest that Plaintiffs’ conduct is protected by the Second

        Amendment’s plain text. Pls.’ Br. 17–18; Br. 19. Instead, the County distorts Bruen’s

        historical inquiry by asserting that only 1868 (and later) matters. Br. 22–28. The

        County compounds that error by incorrectly arguing that a National historical

        “tradition” of firearms regulation “can be based upon relatively few examples” and

        by invoking categories of historical evidence that Bruen expressly found

        unpersuasive. Id. at 20–22, 28–44. Even taken on its own terms, the County’s history

        fails to support a tradition of restricting carry using large exclusionary zones or in

        the challenged locations. Id. at 28–44.

                  A. The Relevant Historical Period Centers on the Founding, Not 1868

             The County errs in arguing that only history from 1868 (and much later)

        matters. Id. at 12, 22–26. Bruen was explicit that “not all history is created equal.”

        142 S.Ct. at 2136; see also id. at 2137 (Sources originating ‘“75 years after the

        ratification of the Second Amendment . . . do not provide as much insight into its

        original meaning as earlier sources.’” (quoting District of Columbia v. Heller, 554

        U.S. 570, 614 (2008))). This is so because “[c]onstitutional rights are enshrined with

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        the scope they were understood to have when the people adopted them[.]” Heller,

        554 U.S. at 634–35 (2008). The people adopted the Second Amendment in 1791, so

        the public understanding of the right around that time controls. Bruen, 142 S.Ct. at

        2136. Consequently, evidence that long pre- or post-dates 1791 is less probative. Id.

        at 2136–37. Laws from the 20th-century are categorically entitled to little or no

        weight. Id. at 2154 n.28.

             Bruen’s reasoning also underscores that 1791 carries the most weight. After

        initially rejecting “medieval English regulations,” id. at 2139, Bruen turned to

        sources leading up to the ratification of the Second Amendment, including the 1689

        English Bill of Rights. Id. at 2141–42. After finding these sources somewhat

        probative of the Amendment’s general original meaning (i.e., that the right to bear

        arms is an individual, not a collective, right), the Court focused on “the history of

        the Colonies and early Republic,” plus “the first decade after [the Second

        Amendment’s] adoption.” Id. at 2142–45. And it found that the challenged law had

        “no historical basis” because no analogue in that relevant historical period supported

        it. Id. at 2145. The Court then considered evidence prior to the Fourteenth

        Amendment’s Ratification in 1868 because such evidence could have informed its




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        drafters. Id. at 2145–50. But it again found no representative or relevant historical

        analogue. Id.

             Only after canvassing the historical evidence from these three periods did the

        Court discuss post-1868 sources and the late-19th century. Id. at 2150–56. But the

        Court found that much of this later evidence “conflict[s] with the Nation’s earlier

        approach to firearm regulation” and is “most unlikely to reflect ‘the origins and

        continuing significance of the Amendment.’” Id. at 2154. Thus, the Court declined

        to rely on such laws and regulations. See id. at 2154–55. And it cautioned courts to

        “guard against giving postenactment history more weight than it can rightly bear.”

        Id. at 2136. In other words, the Founding era is the benchmark against which

        examples from later historical periods must be measured.

             Bruen’s primary focus on the Founding is nothing new. The Court has

        employed the same reasoning in cases involving other incorporated rights. See, e.g.,

        Ramos v. Louisiana, 140 S.Ct. 1390, 1396 (2020) (discussing the history of a

        unanimous jury right by referencing “young American states” and the “backdrop” of

        the ratification of the Bill of Rights in 1791); Timbs v. Indiana, 139 S.Ct. 682, 687–

        88 (2019) (discussing “colonial-era provisions” and the “constitutions of eight

        States” when analyzing the Eighth Amendment excessive fines clause). This Court,

        too, in a vacated opinion that remains persuasive, see Rosenbloom v. Pyott, 765 F.3d

        1137, 1154 n.14 (9th Cir. 2014), has looked to 1791 as the “critical” period when


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        assessing a state-law Second Amendment restriction, see Hirschfeld v. ATF, 5 F.4th

        407, 419 (4th Cir. 2021), as amended (July 15, 2021), vacated as moot, 14 F.4th 322

        (4th Cir. 2021), cert. denied sub. nom. Marshall v. ATF, 142 S.Ct. 1447 (2022) (1791

        is the “critical year for determining the [Second] [A]mendment’s historical

        meaning.” (cleaned up)). Accord Moore v. Madigan, 702 F.3d 933, 935 (7th Cir.

        2012) (1791 is the “critical” period in evaluating a State ban on carry outside the

        home.). Other courts of appeals and district courts agree. Pls.’ Br. 24–25.

             The County does not meaningfully engage with the longstanding focus on

        1791. In a footnote, the County puzzlingly states that Bruen “clearly did not find

        [Timbs and Ramos] . . . persuasive.” Br. 24 n.30. Not so. Bruen cited these authorities

        in explaining why the period surrounding 1791 is the key era for analysis. 142 S.Ct.

        at 2137. Longstanding precedent, undisturbed by Bruen, thus teaches that Founding-

        era historical evidence is vital. The County does not dispute that Bruen squarely

        holds that the Second Amendment is not a disfavored right and thus must be

        accorded the same respect accorded other rights protected by the Bill of Rights. Id.

        at 2156.

              The County ignores the Founding, mentions only a few pre-1868 restrictions,

        and skips straight to laws passed after 1868 and into the 20th century. Br. 23–24, 30–

        43. For authority, it falls back on a short discussion in Bruen acknowledging an

        ongoing “scholarly debate” about whether courts should rely on “the prevailing


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        understanding of an individual right when the Fourteenth Amendment was ratified

        in 1868.” Bruen, 142 S.Ct. at 2138; Br. 12, 26. The County argues that 1868 is “more

        probative” in assessing the validity of the challenged provisions because the Second

        Amendment only applies to the states by virtue of the Fourteenth Amendment. Br.

        12, 26.

             But even if the Fourteenth Amendment somehow imbued the Bill of Rights

        with new meaning, laws enacted in the years preceding its ratification would be most

        probative of what that new meaning is. See, e.g., Ramos, 140 S.Ct. at 1396 (looking

        to the “backdrop” of many state constitutions against which the Founders drafted

        and the states ratified the Sixth Amendment). The County instead engages in

        “freewheeling reliance on historical practice from the mid-to-late 19th century[,]”

        which cannot establish the Second Amendment’s meaning in either 1868 or 1791.

        Bruen, 142 S.Ct. at 2163 (Barrett, J., concurring). Indeed, given the political turmoil

        present in the post-Civil-War South (where many of the County’s analogues come

        from), laws from that era and region are unlikely to be probative of the Second or

        Fourteenth Amendment’s original meaning, much less a “National” tradition.

             The County also ignores Bruen’s response about the Fourteenth Amendment’s

        effect. Bruen explained that the “individual rights enumerated in the Bill of Rights

        and made applicable against the States through the Fourteenth Amendment have the

        same scope as against the Federal Government.” Id. at 2137. In all cases, the scope


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        of those rights—whether applied to the Federal or state governments—“is pegged to

        the public understanding of the right when the Bill of Rights was adopted in 1791.”

        Id. In other words, the relevant historical period for both state and federal restrictions

        is the Founding. See Mark W. Smith, Attention Originalists: The Second Amendment

        Was Adopted in 1791, not 1868, HARV. J. L. & PUB. POL’Y PER CURIAM (Dec. 7,

        2022), https://bit.ly/3RRRSmD.

              To be sure, the Court did not “need [to] address” the extent to which 1868

        matters because “the public understanding of the right” at issue was “the same” in

        both 1791 and 1868. Bruen, 142 S.Ct. 2138. But it looked at both periods, and

        privileged the Founding by using it as the benchmark against which later historical

        periods must be measured. Nowhere does Bruen suggest that 1868-era history, or

        history stretching into the 20th century, could drive the inquiry to the exclusion of

        Founding-era history or was “more probative” than the Founding era. On the

        contrary, the Court confirmed that “post-ratification adoption or acceptance of laws

        that are inconsistent with the original meaning of the constitutional text obviously

        cannot overcome or alter that text.” Id. at 2137 (cleaned up). Accord Espinoza v.

        Mont. Dep’t of Revenue, 140 S.Ct. 2246, 2258–59 (2020) (finding unpersuasive

        “more than 30” provisions of state law from the “second half of the 19th Century”

        because they were not grounded in Founding-era practices regarding the Free

        Exercise Clause). In other words, all post-Founding evidence functions as “mere


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        confirmation of what the Court thought had already been established.” Bruen, 142

        S.Ct. at 2137 (cleaned up).

                B.   A Historical Tradition Requires Proof of Well-Established,
                     Representative Analogues and Cannot Rest on Outliers
              The County also incorrectly asserts that “relatively few examples” can support

        a “historical tradition of firearms regulation.” Br. 20. Bruen requires the County to

        “identify a well-established and representative historical analogue[.]” 142 S.Ct. at

        2133. And Bruen repeatedly rejected regulations applying only to a handful of States

        or that covered small portions of the population. See id. at 2155 (rejecting regulations

        applying to only 1% of the American population); see also id. at 2133 (historical

        “outlier[s]” should be disregarded). In other words, a smattering of regulations is not

        a “historical tradition” sufficient to inform the original public meaning of the right

        at the Founding. Pls.’ Br. 27 n.4.

              While Bruen identified three “sensitive places” where firearms could lawfully

        be prohibited at the Founding, Pls.’ Br. 28, Bruen did not hold that only a few laws

        were sufficient to establish them as sensitive. Br. 20. Neither Bruen nor Heller

        “undert[ook] an exhaustive historical analysis” of sensitive places. 142 S.Ct. at 2134

        (cleaned up). Rather, Bruen merely “assume[d]” that legislative assemblies, polling

        places, and courthouses were among the “relatively few” places where weapons

        could be completely prohibited, especially given the lack of disputes throughout

        history. Id. at 2133. Nothing in these statements allows the County to provide only

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        a few historical analogues to establish a representative tradition, much less for the

        many places in which the County’s law bans all firearms. See, e.g., id. at 2153

        (rejecting restrictions in one state statute and two state court decisions as not

        representative); id. at 2142 (doubting that “three colonial regulations could suffice

        to show a tradition of public-carry regulation.”). Nor do they relieve the County of

        the burden to establish why these places were considered sensitive at the Founding

        and how they burdened Second Amendment rights. Without that “how” and “why,”

        analogical reasoning cannot proceed.

              The County misapplies the “why” inquiry by asserting that it may ban firearms

        “where large groups and vulnerable populations congregate.” Br. 1. That rationale is

        flatly inconsistent with Bruen’s holding that banning arms in locations merely

        because they are crowded construes the narrow sensitive places exception “far too

        broadly.” 142 S.Ct. at 2133–34. Nor is “vulnerability” a permissible reason to ban

        arms. The Founders protected vulnerable populations by requiring the bearing of

        arms because disarming the vulnerable and their caretakers makes them more

        defenseless, not less. See David B. Kopel & Joseph G.S. Greenlee, The “Sensitive

        Places” Doctrine, 13 CHARLESTON L. REV. 204, 232–34 & n.108, 244 (2018);

        Clayton E. Cramer, Colonial Firearm Regulation, 16 J. FIREARMS & PUB. POL’Y 1

        (2004).




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              For a place truly to be sensitive, the government must treat it as such. This is

        demonstrated by the enhanced government-provided security present at polling

        places, legislative assemblies, and courthouses at the Founding. Pls.’ Br. 42–43; Br.

        of Ctr. for Hum. Liberty as Amicus Curiae 8–17, Antonyuk v. Hochul, No. 22-2908

        (2d Cir. Feb. 9, 2023), ECF No. 313 (collecting laws). Students in schools could be

        disarmed not because they were vulnerable but rather because of the schools’ in loco

        parentis authority. See Worth v. Harrington, No. 21-cv-1348, 2023 WL 2745673 at

        *12–14 (D. Minn. Mar. 31, 2023); Ctr. for Hum. Liberty Br. 20–22. And Founding-

        era laws restricting firearms on campus applied only to students, not to faculty, staff,

        or visitors. See Kopel & Greenlee at 249–52; Ctr. for Hum. Liberty Br. 20–22

        (collecting laws).

              While acknowledging Bruen’s holding that “how” an analogue burdens the

        right and “why” it does so is important, the County argues that its bans are justified

        because they implicate “unprecedented societal concerns” and “technological

        changes.” Br. 5 n.9, 21 & n.26, 24–25. Nonsense. Bruen suggested that “a more

        nuanced approach” may be appropriate in cases involving “unprecedented societal

        concerns or dramatic technological changes,” 142 S.Ct. at 2132, but when a

        regulation purports to address “a general societal problem” that was also present

        during the Founding the historical analogues must be “distinctly similar,” id. at 2131.

        Here, the County says that it was motivated by increased “gun violence,” Br. 3–5,


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        15, 17, 18, 21 n.26, but it ignores Bruen’s holding that there is nothing remotely

        unprecedented about “firearm violence” or ‘“handgun violence,”’ 142 S.Ct. at 2131.

        “Gun violence” as a societal “problem” has existed since and before the Founding,

        Heller, 554 U.S. at 636, and bans like the County’s “could have [been] adopted” (but

        weren’t) by the Founders, Bruen, 142 S.Ct. at 2131.

              Finally, the challenged restrictions do not stem from any “dramatic

        technological change.” Id. at 2132. There is nothing “dramatic” about the evolution

        of firearms technology or the “regulatory challenges” posed by the ordinary firearms

        regulated by the County’s law. Heller and Bruen hold that all bearable modern

        firearms in common use by law-abiding Americans are protected arms. Id.; Heller,

        554 U.S. at 582. Neither decision supports the notion that firearms in common use

        represent some sort of dramatic technological change requiring a “more nuanced”

        approach.

              C.     The County’s Historical Evidence is Unpersuasive

                     1.    100-yard Exclusionary Zones

              Rather than beginning with Bruen, the County asserts that its 100-yard

        exclusionary zones are permissible because state law “authorizes” them, and courts

        (pre-Bruen) upheld a few such zones. Br. 28. But even if state law sanctions the

        County’s restrictions, it cannot override the Constitution. See U.S. CONST. art. VI,

        cl. 2 (“[T]he Constitution . . . shall be the supreme Law of the Land . . . any Thing


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        in the Constitution or Laws of any State to the Contrary notwithstanding.”). The

        Constitution controls, not State law.

              The precedent on which the County relies, Br. 29–30, is pre-Bruen and thus

        did not attempt to engage in the analogical reasoning it requires. These cases also

        only involved parking lots around government buildings. United States v. Class

        reasoned that guns could be banned in a parking lot 1,000 feet from the U.S.

        Capitol’s entrance, but expressly noted that this area could be easily avoided and

        thus did not affect carry elsewhere in the District. 930 F.3d 460, 466 (D.C. Cir. 2019).

        Two other decisions held that guns could be restricted in U.S. Postal Service parking

        lots. Br. 30 (citing Bonidy v. U.S.P.S., 790 F.3d 1121 (10th Cir. 2015) and United

        States v. Dorosan, 350 F. App’x 874 (5th Cir. 2009)). These parking lot bans do not

        compare to the burden on the right of self-defense imposed by thousands of

        interlocking 100-yard exclusionary zones created by the County’s law. Pls.’ Br. 8,

        43. See Bruen, 142 S.Ct. at 2133 (“the right of armed self-defense and whether that

        burden is comparably justified are ‘central’ considerations when engaging in an

        analogical inquiry” (emphasis in original)).

              When the County finally turns to Bruen, Br. 30–32, it quickly becomes clear

        that there is not a shred of relevant Founding-era evidence supporting its 100-yard

        exclusionary zones. The 1837 Maryland law with which it leads, Br. 30–31, prohibits

        navigating on a boat with a firearm near waterfowl blinds “with intent to shoot or


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        molest any wild fowl,” 1 Add.6. This law is not “distinctly similar” to the challenged

        restrictions because its “why” is protecting fowl, and its “how” is prohibiting

        firearms on boats navigating “Hearn’s Straits, in Somerset county” and “the upper

        side of Holland’s Straits.” Id. Contrary to the County’s contentions, Br. 14, Bruen’s

        “how” and “why” test applies to all analogues. 142 S.Ct. 2132–33. And a waterfowl

        law is not a “clear historical example of the exact same type of regulation,” Br. 14,

        for many reasons, including that it only applies to people hunting birds in boats in a

        specific location. The “burden” of this law on the right of self-defense is not remotely

        “comparable” to that inflicted by the County’s law.

              The County’s only other pre-1868 analogue supporting its exclusionary zones

        is an 1859 Connecticut law, Br. 31, that regulated liquor, not guns. It directs law

        enforcement to remove “any booth, shed, tent, or other temporary erection” used for

        selling liquor within a mile of military parade grounds. Add.20. This is not remotely,

        let alone “distinctly,” like the County’s exclusionary zones for firearms. So too the

        County’s post-1868 laws. Several of them only prohibit carry of firearms at and

        around polling places on election days. Br. 31 (1886 Calvert County laws and 1870




        1
         1837 is not considered Founding-era under Bruen, which looked to the years
        around 1791 and ten years after. 142 S.Ct. at 2145.


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        Louisiana law). 2 Others prohibited carry anywhere in a county on election days. Id.

        (1874 prohibition on carry in three of Maryland’s 24 counties on election day).

        “How” these restrictions burden Second Amendment rights differs in duration (one

        day vs. every day) and breadth (surrounding only polling places). Again, the burden

        on the right is not “comparable.”

              The County is left with two other state laws passed more than a century after

        the Founding. An 1892 Mississippi law prohibited concealed carry within two miles

        of a college, id., but that limited ban applied only to students and still preserved open

        carry as a means of self-defense. Add.169; see Bruen, 142 S.Ct. at 2144 (noting that

        restrictions on concealed carry typically did not prohibit open carry). The burden on

        the right imposed is thus not comparable to the County’s law, which prohibits

        carriage of all firearms by anyone within 100 yards of the fifteen categories of

        publicly or privately owned places “of public assembly,” as defined by the County.

        The County cites a 1905 Minnesota law that prohibited guns within a half-mile of

        state parks. Add.300. But because this restriction was limited to state parks, it is not

        a “distinctly similar” analogue for exclusionary zones around all places of public

        assembly, particularly where a “place of public assembly” is defined to include all



        2
         The County’s reference to an 1888 Calvert County law appears to be a duplicate
        (or reenactment) of the 1886 Calvert County law. Compare Add.115, with
        Add.124.


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        publicly or privately owned locations (including associated grounds and parking

        lots). It also a 20th-century law and thus “does not provide insight into the meaning

        of the Second Amendment.” Bruen, 142 S.Ct. at 2154 n.28.

              The County relies heavily on two categories of historical evidence—territories

        and localities—that Bruen expressly held carry “little weight” because they were

        “localized,” “rarely subject to judicial scrutiny,” and “short lived.” Id. at 2154–55.

        Even if laws from territories and localities could be considered, New Mexico’s 1887

        law prohibits only the “unlawful draw, flourish or discharge” of a gun near a

        settlement, not carry or possession. Add.120. And it includes an exception for

        “lawful defense” of a person, his family, or his property. Id. This law cuts against

        the County because it suggests that carry for self-defense was permitted.

              The County next references six localities’ restrictions, most from the late

        1800s, banning firearms in and around parks. Br. 32. But these laws sometimes

        applied only to individual parks, e.g., Add.28, 37, 226 (Fairmount and Penn’s

        Common Parks), and were often coupled with restrictions on shooting animals, e.g.,

        Add.50, 130. And in any event, analogues from a few municipalities fail to establish

        a representative National tradition justifying the County’s 100-yard exclusionary

        zones around any place of “public assembly.” Bruen, 142 S.Ct. at 2154–55.




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              2.     Houses of Worship

              The common theme continues: the County presents no Founding-era evidence

        justifying its carry restrictions in houses of worship. Worse, it largely ignores

        Plaintiffs’ Founding-era evidence that six of the thirteen original colonies required

        citizens to go armed to religious services. Pls.’ Br. 31 (citing Koons v. Platkin, No.

        22-cv-7464, 2023 WL 3478604, at *73 (D.N.J. May 16, 2023)). That affirmative

        evidence establishes the historical backdrop and post-Reconstruction-era evidence

        is thus probative only if it does not conflict with this established, earlier tradition of

        carry in churches. Bruen, 142 S.Ct. at 2154.

              The County provides no evidence from years leading up to (or during) 1868.

        Br. 36–38. And its post-1868 analogues conflict with the Founding-era tradition of

        carry in church. For example, it points to a Virginia statute in 1878 prohibiting

        weapons in places of worship. Br. 37–38. But this statute had a “good and sufficient”

        cause exception, suggesting that carry was permissible in at least some

        circumstances. Add.92. And from the Founding until 1878, Virginia permitted “each

        county’s chief militia officer to order all enlisted militiamen ‘to go armed to their

        respective parish churches.’” Koons, 2023 WL 3478604, at *73. Because the

        County’s later evidence conflicts with Founding-era practice, it must be discounted.

        Cf. Kipke v. Moore, No. 1:23-cv-1293, 2023 WL 6381503, at *16 (D. Md. Sept. 29,

        2023) (agreeing that Founding-era statutes ‘“required their citizens to go armed”’ to


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        public assemblies and declining to consider later contradictory evidence (quoting

        Koons, 2023 WL 3478604, at *73)). More, there is evidence that Georgia’s 1870’s

        ban on public carry was only selectively enforced—white supremacists went armed

        to the polls despite it to prevent Republicans from voting. See DONALD L. GRANT,

        THE WAY IT WAS IN THE SOUTH: THE BLACK EXPERIENCE IN GEORGIA 122 (2001);

        Cf. Bruen, 142 S.Ct. at 2152 n.27 (discussing racist enforcement of concealed carry

        restrictions).

               The County’s analogues are unpersuasive for other reasons, too. Two of the

        Missouri restrictions are only about concealed carry and thus did not impose a

        “comparable” burden on the right of self-defense. Add.96, 110. And the evidence

        from localities and territories carries “little weight[.]” Bruen, 142 S.Ct. at 2155.

        Other courts have already dismissed many of the County’s analogues as insufficient

        to establish a historical tradition. Antonyuk v. Hochul, 639 F. Supp. 3d 232, 320

        (N.D.N.Y. 2022); Koons, 2023 WL 3478604, at *73–74.

               Precedent from the 1870s is equally unpersuasive. Br. 39. Because the

        “Constitution was written to be understood by the voters,” this Court must look to

        its “[n]ormal meaning . . . known to ordinary citizens in the founding generation.”

        Heller, 554 U.S. at 576–77. And regardless, the Georgia and Texas decisions rely on

        a militia-based reading of the Second Amendment, Pls.’ Br. 32–33, which Heller

        rejected as an improper interpretation of the Second Amendment, Bruen, 142 S.Ct.


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        at 2153 (finding the laws at issue in these decisions unpersuasive for this reason).

        That Bruen discussed these laws in a different factual context does not matter. Br. 40

        n.49. They cannot be used to bar the right to carry (as the County has done) any

        more than they can be used to restrict the right to carry (as in Bruen). And Bruen’s

        finding that the Georgia and Texas decisions rested on improper interpretations of

        the Second Amendment is equally true here.

              3.     Parks

              The County claims it has many “historical ‘twins’” for its restrictions on carry

        in parks, id. at 36, but provides no Founding-era analogues, id. at 32–35. Because

        there is nothing new about parks or potential violence in them, this total absence of

        Founding-era regulations is dispositive. Bruen, 142 S.Ct. at 2156; Wolford v. Lopez,

        No. 1:23-cv-00265, 2023 WL 5043805, at *22–24 (D. Haw. Aug. 8, 2023)

        (disagreeing with the district court’s reliance on late 19th- and 20th-century statutes

        and ordinances and finding its approach to parks “unpersuasive”).

              The County cites only two Reconstruction-era state laws. Br. 34–35. But one

        of these, an 1868 Pennsylvania law, applied only to one park in Philadelphia. Add.28,

        33. The other, an 1895 Michigan law, appears to ban carry of firearms only in Detroit

        parks. Add.207, 208, 212. Two state laws do not begin to establish a historical

        tradition even if they applied state-wide, and these laws are more limited. Bruen,

        142 S.Ct. at 2142 (three state laws not sufficient). They do not justify the County’s


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        total ban on carry in its 693 parks, some of which span thousands of rural acres. Pls.’

        Br. 34.

              The County is left with municipal laws, only five of which were enacted

        before or during 1868. Br. 32–33. And of those five, three pertain to the same

        location (New York’s Central Park). Id. More, these five regulations are hardly a

        model of constitutionality, barring things like “indecent language,” Add.25, 34, or

        even conversing with construction workers, Add.14. Regardless, Bruen made clear

        that the laws of localities—here only 26 3—cannot establish a representative National

        historical tradition. 142 S.Ct. at 2154.

              Further inspection of these laws indicates that several are not “distinctly

        similar” to the County’s ban in all parks, including in federal parks in which carry

        by permit holders is allowed by federal law. Pls.’ Br. 37 n.6. First, as noted, three of

        the New York regulations apply only to Central Park. Add.12, 14, 23. So too the

        three Philadelphia restrictions, which apply only to Fairmount Park, Add.27, 37, 50,

        and the 1883 St. Louis law, which applies only to Tower Grove Park, Add.111. These

        laws—banning carry in individual parks—do not impose a “comparable burden” to

        the County-wide ban here. Bruen, 142 S.Ct. 2133. Second, two of the laws—San



        3
          The County lists 27 municipalities, but as it concedes, the Rochester law prohibits
        only discharge of firearms, not carry. Br. 33 n.6. The County also references “six
        major metropolitan areas” that prohibited firearms in parks, Br. 33, but it does not
        provide additional citations to laws governing those areas.

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        Francisco’s in 1875 and Detroit’s in 1895—allow firearm carry after receiving

        permission, Add.78, 212, a requirement analogous to carry permits discussed in

        Bruen. 142 S.Ct. at 2138 n.9. Indeed, the San Francisco law (which also banned only

        concealed carry) allowed “peaceable person[s]” to carry for self-defense at night if

        the police approved. Add.77. Like the New Mexico law discussed above, these two

        laws undercut, rather than support, the County’s sweeping restrictions. Third, the

        1881 St. Louis law is within a “Protection of Birds” statute, Add.104, so its “why”—

        protecting birds—differs from the concerns motivating the County. The County’s

        reliance on municipal bans after 1900 is similarly unpersuasive. More than 10,000

        municipalities existed as of 1900, Pls.’ Br. 48, so these few outlier regulations are

        not probative of the Nation’s historical tradition of firearm regulation in parks.

        Bruen, 142 S.Ct. at 2126. And again, 20th-century laws are entitled to no weight. Id.

        at 2154 n.28.

               Finally, the County’s decisions from federal and state courts in Washington all

        pre-date Bruen and thus did not engage in analogical reasoning. Br. 35–36. And these

        decisions relied on the flawed logic that the need for self-defense evaporates in

        places where children play. As noted, carry for self-defense and for defense of the

        vulnerable is most acute there because vulnerable individuals are less capable of

        defending themselves. Criminals and mass murderers will not respect the County’s

        law.


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              4.     Recreational Facilities and Multipurpose Exhibition Facilities

              The County fails to establish a historical tradition of firearms regulation

        justifying its restrictions in recreational facilities and multipurpose exhibition

        facilities—undefined terms so broad it is difficult to tell what they encompass. The

        County provides only one Founding-era analogue—a 1786 Virginia statute

        forbidding carrying arms in fairs and markets “in terror of the county.” Br. 40–41

        (cleaned up). But Bruen rejected this very statute as a viable analogue, 142 S.Ct. at

        2144, because it only prohibits bearing arms in a way that spreads terror among the

        people, not carry for self-defense, see id.

              The County next cites one local and one territorial restriction prior to 1868

        banning firearms in ballrooms. Br. 41 (1817 New Orleans and 1852 New Mexico).

        But these laws carry “little weight” because they were “localized,” “rarely subject to

        judicial scrutiny,” and “short lived.” Bruen, 142 S.Ct. at 2154–55. The New Orleans

        ordinance affected a tiny portion of the Nation’s population, Pls.’ Br. 38, and the

        Territory of New Mexico’s restriction was only about concealed carry, Add.9.

        Further, “how” these restrictions burden carry is far different from the County’s

        nebulous restriction on carry in and 100 yards around any recreational or

        multipurpose facility.

              The County’s post-1868 analogues also have flaws. “[T]he reliance on local

        ordinances that were enacted after the ratification of the Fourteenth Amendment


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        cannot sufficiently assist in determining the prevailing understanding of the right to

        bear arms in public at the time of ratification.” Wolford, 2023 WL 5043805, at *22

        n.18 (bolding in original). Here, the broad bans on public carry total three local or

        territorial restrictions far removed from the Founding and 1868. Br. 42–43 (1894

        Huntsville, 1889 and 1901 Arizona, and 1890 Oklahoma laws). The only state law

        broadly banning carry, Add.39–40 (1869 Tennessee law), involves only concealed

        carry, as does another of the County’s local restrictions, Add.146 (1890 Columbia,

        Missouri law).

              Left without any distinctly similar analogues, the County turns to two district

        court cases that did not apply Bruen. Br. 44. And Bruen explodes their logic that

        guns may be prohibited just because people “congregate” at a location. 142 S.Ct. at

        2133–34. Again, the County ignores that holding.

              5.     Locations Closed to the Public

              The County again refuses to disclaim that its law sweeps in privately owned

        locations not open to the public in Bill 21-22E’s list. Br. 8–9 (listing only the owner

        of a private business as exempt from its law); id. at 8 n.12 (citing the district court’s

        sua sponte, non-binding construction). Therefore, unless and until there is a binding

        state court decision to the contrary, the Court should enjoin the Bill’s application to

        those locations. The County offers no historical tradition for banning firearms for all

        such areas. In sum, the County’s analogues suffer from “several serious flaws []


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        beyond their temporal distance from the founding.” Bruen, 142 S.Ct. at 2154.

             II.    THE OTHER FACTORS WEIGH IN FAVOR OF INJUNCTIVE
                    RELIEF

                    A.     Plaintiffs are Suffering Continuous Irreparable Injury

              The County returns to its argument that state law “authorize[s]” its 100-yard

        exclusionary zones around places of public assembly to argue that Plaintiffs do not

        suffer irreparable harm. Br. 44–47. For the reasons discussed supra in Part I.C.1, this

        is irrelevant. Plaintiffs have shown that the County’s ban infringes on their Second

        Amendment right to public carry in the challenged locations and thus

        ‘“unquestionably”’ suffer continuous irreparable harm. Miranda v. Garland, 34 F.4th

        338, 365 (4th Cir. 2022); Leaders of a Beautiful Struggle v. Balt. Police Dep’t, 2

        F.4th 330, 346 (4th Cir. 2021) (en banc).

                    B.      An Injunction is Both Equitable and in the Public Interest

              While likelihood of success on the merits and irreparable harm are the “most

        critical” factors for injunctive relief, Nken v. Holder, 556 U.S. 418, 434 (2009), the

        final two factors (merged in a suit against the Government) favor Plaintiffs too. The

        County is not harmed if it cannot enforce restrictions that likely infringe Second

        Amendment rights. Leaders of a Beautiful Struggle, 2 F.4th at 346 (“[A] state is in

        no way harmed by issuance of a preliminary injunction which prevents the state from

        enforcing restrictions likely to be found unconstitutional. If anything, the system is


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        improved by such an injunction.” (cleaned up)). And “upholding constitutional

        rights surely serves the public interest.” Giovani Carandola, Ltd. v. Bason, 303 F.3d

        507, 521 (4th Cir. 2002).

              The County suggests that its interest in “public safety” and preventing gun

        violence should tip the final two injunctive relief factors in its favor. Br. 48–49. But

        as explained above, using violent crime statistics to argue that the public interest

        supports disarming law-abiding citizens fails because permit holders are not a threat

        to public safety. Accord Wolford, 2023 WL 5043805, at *32 (finding insufficient

        Hawaii’s professed public safety concerns where “the challenged provisions only

        affect those individuals who have been granted a permit to carry firearms[.]”).

              The County gives no weight to the right of self-defense, asserting that armed

        bystanders “stop” less than 3 percent of active shooting attacks. Br. 50. But “the right

        to keep and bear Arms historically encompasse[s] an individual right to possess and

        carry weapons in case of confrontation,” Bruen, 142 S.Ct. at 2177 (cleaned up), and

        thus cannot be measured by the number of shots fired. The County’s calculation also

        only includes times in which an armed bystander shot the attacker, rather than

        subdued or scared him away. See Duncan v. Bonta, No. 3:17-cv-1017, 2023 WL

        6180472, at *11 (S.D. Cal. Sept. 22, 2023) (“[a]ctual firing of a handgun” is

        “irrelevant” under Heller). Ordinary citizens use firearms to protect themselves from




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        criminal attack “up to 2.5 million times per year.” Bruen, 142 S.Ct. at 2159 (Alito,

        J., concurring).

              Regardless, Bruen prohibits this Court from considering the public interest in

        assessing whether a restriction on Second Amendment rights is constitutional. Id. at

        2133–34; Br. 49. Sneaking such interest balancing in at the equities stage of the

        preliminary injunction inquiry is no less permissible than conducting means-end

        scrutiny on the merits. And it undermines Bruen to say that despite Plaintiffs’

        likelihood of success on the merits, interest balancing could support denying an

        injunction anyway. Doing so risks “eviscerat[ing] the general right to publicly carry

        arms for self-defense,” Bruen, 142 S.Ct. at 2134, during the pendency of years-long

        court proceedings.

              As Bruen noted, the Second Amendment ‘“is the very product of an interest

        balancing by the people’ and it ‘surely elevates above all other interests the right of

        law-abiding, responsible citizens to use arms’ for self-defense.” Id. at 2131 (quoting

        Heller, 554 U.S. at 635). Because of “this balance—struck by the traditions of the

        American people,” id.,—“certain policy choices” have been taken “off the table,”

        Heller, 554 U.S. at 636, including the County’s policy choice to ban public carry in

        and around the thousands of broadly-defined places of “public assembly.”




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                                        CONCLUSION
              For all these reasons, this Court should reverse the judgment below.

        Dated: October 10, 2023                      Respectfully submitted,


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                                CERTIFICATE OF COMPLIANCE

              This brief complies with the length limitation of Fed. R. App. P. 32(a)(7)(B)

        because it contains 6,475 words, excluding the parts of the brief exempted by Fed.

        R. App. P. 32(f).

              This brief complies with the typeface requirements of Fed. R. App. P. 32(a)(5)

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        Dated: October 10, 2023


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                                    CERTIFICATE OF SERVICE

              The undersigned counsel hereby certifies that on October 10, 2023, the

        foregoing “Reply Brief of Appellants” was served on all counsel of record via

        CM/ECF service.


        Dated: October 10, 2023
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